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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                 4/24/2024
 ARLENE DELGADO,

                                                Plaintiff,             19-CV-11764 (AT) (KHP)
                             -against-
                                                                          DISCOVERY ORDER
 DONALD J. TRUMP FOR PRESIDENT, INC.,
 TRUMP FOR AMERICA, INC., SEAN SPICER,
 individually, REINCE PRIEBUS, individually,
 STEPHEN BANNON, individually,

                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE:

         As set forth more fully on the record at the conference on April 24, 2024, the discovery

issues raised by Plaintiff in ECF Nos. 248, 249, 250-52, 255 are resolved as follows:

1. April 15th Motion to Compel

         On April 15, 2024, Plaintiff submitted a letter asserting that the Defendants’ Rule

30(b)(6) witness, Jesse Binnall, was not prepared to answer questions on several topics during

his deposition including: complaints of discrimination or harassment against the Trump for

America Campaign (the “Campaign”) between 2017 and 2020, the amount in legal fees the

Campaign has spent on the present litigation, the amount of cash/assets the Campaign

currently possesses, and whether Campaign staff were ever informed that the Campaign had a

Human Resources (“HR”) director. (ECF No. 248.) Plaintiff’s letter sought to compel

information on such topics. On April 22, 2024, Defendants filed a letter opposing Plaintiff’s

motion to compel, arguing that most of the information sought by Plaintiff in her motion is

irrelevant or non-discoverable. (ECF No. 256.)
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        Having reviewed both letters and held oral argument at the Case Management

Conference on April 24, 2024, Plaintiff’s motion to compel is GRANTED in part and DENIED in

part.

        Plaintiffs motion is GRANTED as to information concerning gender-related complaints

against the Campaign during the 2016 and 2020 campaign cycles, including complaints of

sexual harassment, gender, or pregnancy discrimination. Defendants are not required to

provide information concerning complaints of other types of discrimination. Defendants may

provide such information either through a continued 30(b)(6) deposition, interrogatory

responses, or by producing documentation of such complaints. Unless the parties agree

otherwise, the Court assumes the information will be provided via a continued deposition,

which must take place by the discovery deadline, May 7, 2024, and be limited to the topic of

gender-based discrimination complaints filed against the Campaign during the 2016 and 2020

campaign cycles.

        Plaintiff’s motion to compel information related to the amount in legal fees the

Campaign has spent on the present litigation or the amount of cash/assets the Campaign

currently possesses is DENIED. Plaintiff is advised that she may serve requests to admit on

Defendants concerning whether Campaign employees were informed of the existence of an HR

director. Further, Defendants are ordered to provide to Plaintiff the identity of the Campaign’s

HR Director(s) from 2015 through 2020. This Order should not be construed as a limitation on

the parties’ right to serve requests to admit in accordance with the applicable rule; however, all

requests to admit must be served by May 7, 2024.
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2. April 17th Letter Requests

       On April 17, 2024, Plaintiff filed a letter requesting access to Defendants’ storage vendor

and asserting that several organizational charts were missing from Defendants’ production.

(ECF No. 249.) On April 22, 2024, Defendants responded to Plaintiff’s letter, disputing Plaintiff’s

assertion that Defendants have withheld documents. (ECF No. 257.) Plaintiff’s request to have

direct access to Defendants’ storage vendor and her request that Defendants conduct further

searches for organizational charts is DENIED. However, Defendants are directed to contact

Marc Kasowitz concerning a specific document Plaintiff seeks showing that the decision to not

hire Plaintiff for employment at the White House took place on December 27, 2016. Plaintiff is

permitted to serve on Defendants a request to admit concerning the date the decision not to

hire Plaintiff was made.

       On April 17, 2024, Plaintiff filed a letter requesting additional time to depose non-party

witness Bradley Parscale. (ECF No. 252.) Plaintiff’s request for additional time to depose Mr.

Parscale is GRANTED. As discussed at the Conference, Plaintiff is permitted to depose Mr.

Parscale for an additional three hours and is directed to schedule such deposition by May 7,

2024. Questioning must be limited to topics that are relevant to the claims and defenses in this

action and should not be redundant of questions previously posed to Parscale. Mr. Parscale

shall make himself available before May 7, 2024 for completion of his deposition.

3. Additional Discovery of Non-Parties

       At the Conference, Plaintiff also moved to compel Fox Corporation / Fox News Network,

LLC (“Fox”) to produce documents and communications. A telephonic conference is scheduled

for May 9, 2024 at 4:30 p.m. to rule on Plaintiff’s motion to compel. The dial-in information is
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noted below. By April 26, 2024, Plaintiff shall serve a copy of this Order on Fox and invite its

counsel to attend the May 9, 2024 conference. To the extent Fox wishes to submit a written

opposition to Plaintiff’s subpoena requests, it shall be filed with the Court by Fox no later than

May 7, 2024.

4. Status Update

       The parties shall file a written status letter regarding the completion of discovery on

May 7, 2024. Responses to requests to admit are due June 7, 2024.

                                          CONCLUSION

       For the reasons set forth above and as stated on the record at the April 24, 2024 Case

Management Conference, Plaintiff’s motion to compel is granted in part and denied in part.

The Clerk of Court is respectfully requested to terminate the motion at ECF 248.

       A telephonic Case Management Conference is scheduled for May 9, 2024 at 4:30 p.m.

concerning Plaintiff’s motion to compel against Fox. At the scheduled time, the parties shall

dial 866-434-5269, access code 4858267.

               SO ORDERED.

DATED:         New York, New York                    ______________________________
               April 24, 2024                        KATHARINE H. PARKER
                                                     United States Magistrate Judge
